Case 1:20-cv-01397-CMH-TCB Document 51 Filed 06/07/21 Page 1 of 7 PagelD# 288

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

KESHA T. WILLIAMS,
Plaintiff,
Civil Action No. 1:20-cv-1397

Vv.

STACY A. KINCAID, et al.,

eee ee ee ee

Defendants.

MEMORANDUM OPINION

THIS MATTER comes before the Court on Defendant Stacy A.
Kincaid’s Motion to Dismiss for Failure to State a Claim.

Plaintiff is a transgender woman who has lived as a female
and received hormone therapy for fifteen years. Plaintiff,
however, maintains the male genitalia with which she was born.
From 2018 to 2019, Plaintiff was incarcerated by the Fairfax County
Sheriff's Office. Defendant Kincaid is the Sheriff of Fairfax
County and responsible for the operation of the Fairfax County
Adult Detention Center (“Detention Center”). During Plaintiff's
intake at the Detention Center, she was classified as a male based
on the Sheriff's Office policy that inmates are classified in
accordance with his or her genitalia. Based on this classification,
Plaintiff was placed in male housing and was subject to search by

male staff. She also received male undergarments based on Sheriff's
Case 1:20-cv-01397-CMH-TCB Document 51 Filed 06/07/21 Page 2 of 7 PagelD# 289

Office policy that transgender inmates receive undergarments
consistent with their housing classification.

In November 2020, Plaintiff brought suit against Defendant
Kincaid (in her official capacity) and others acting on behalf of—
or in coordination withthe Sheriff's Office. Plaintiff amended
her complaint on February 12, 2021. The Amended Complaint claims
Defendant Kincaid discriminated against Plaintiff based on
Plaintiff's sex, in violation of the Fourteenth Amendment Equal
Protection Clause. Plaintiff claims Defendant Kincaid is liable
under the doctrine of respondeat superior for discrimination by
the deputies at the Detention Center who failed to process, search,
and house Plaintiff based on her gender identity. Additionally,
Plaintiff asserts that Defendant Kincaid is responsible for
discrimination because she instituted the classification and
search policies that resulted in Plaintiff’s alleged injury.

The Amended Complaint also includes a cause of action against
Defendant Kincaid for failure to accommodate a disability in
violation of the Americans with Disabilities Amendments Act
(“ADAA”) and Rehabilitation Act (“RA”). See 42 U.S.C. § 12101 et
seq.; 29 U.S.C. § 794(a). Plaintiff asserts that she suffers from
gender dysphoria and is therefore a qualified individual with a
disability protected under the ADAA and RA.

Finally, the Amended Complaint asserts that Defendant Kincaid

committed gross negligence when she failed to “appropriately
Case 1:20-cv-01397-CMH-TCB Document 51 Filed 06/07/21 Page 3 of 7 PagelD# 290

supervise, review, and ensure the provision of adequate care and
treatment” to Plaintiff. It also asserts gross negligence when
Defendant Kincaid “failed to enact appropriate standards and
procedures that would have prevented” Plaintiff’s harm.

On February 26, 2021, Defendant Kincaid filed a Motion to
Dismiss for Failure to State a Claim, pursuant to Federal Rule of
Civil Procedure 12(b) (6). Defendant seeks dismissal of Plaintiff's
ADAA and RA claims as time barred and argues that gender dysphoria
is not a qualified disability. The Motion also argues for dismissal
of Plaintiff’s gross negligence claim because Defendant Kincaid
exercised some degree of care and because there is no showing that
Defendant Kincaid was the proximate cause of Plaintiff's alleged
injuries. Plaintiff voluntarily dismisses her 42 U.S.C. § 1983
claim in the Memorandum in Opposition of March 12, 2021. Defendant
Kincaid’s March 18, 2021 Reply withdrew the argument that
Plaintiff's ADAA and RA claims are time barred.

A complaint should be dismissed for failure to state a claim
pursuant to Federal Rule of Civil Procedure 12(b)(6) “if after
accepting all well-pleaded allegations in the plaintiff's
complaint as true .. . it appears certain that the plaintiff
cannot prove any set of facts in support of his claim entitling

him to relief.” Edwards v. City of Goldsboro, 178 F.3d 231, 244

 

(4th Cir. 1999). A plaintiff must allege “a plausible claim for

relief,” instead of merely stating facts that leave open “the
Case 1:20-cv-01397-CMH-TCB Document 51 Filed 06/07/21 Page 4 of 7 PagelD# 291

possibility that a plaintiff might later establish some set of

undisclosed facts to support recovery.” McCleary-Evans v. Md.

 

Dep't of Transp., State Highway Admin., 780 F.3d 582, 587 (4th

 

Cir. 2015) (emphases in original). Although a court considering a
motion to dismiss must accept all well-pleaded factual allegations
as true, this deference does not extend to legal conclusions.
Neither “naked assertions devoid of further factual enhancement,”
nor “(t]hreadbare recitals of the elements of a cause of action,
supported by mere conclusory statements” suffice. Ashcroft v.
Iqbal, 556 U.S. 662, 678 (2009).

Plaintiff has not stated a claim upon which relief can be had
against Defendant Kincaid. First, Plaintiff has not shown she is
a qualified individual with a disability within the scope of the
ADAA and RA. Upon passing Americans with Disabilities Act, Congress
excluded from the term “disability” all “gender identity disorders
not resulting from physical impairments.” 42 U.S.C. § 12211(b) (1).
The Amended Complaint describes gender dysphoria as “discomfort or
distress that is caused by a discrepancy between a person’s gender
identity and that person’s sex assigned at birth (and the
associated gender role and/or primary and secondary sex
characteristics).” The issue in this case is whether gender
dysphoria is the result of a physical impairment and thus excluded

from the scope of the ADAA and RA.
Case 1:20-cv-01397-CMH-TCB Document 51 Filed 06/07/21 Page 5 of 7 PagelD# 292

Plaintiff argues that her disorder is alleviated by medical
treatment and that, without hormone therapy, the disorder would
substantially limit her major life activities. But the Amended
Complaint fails to demonstrate that gender dysphoria is the result
of a physical impairment. The Amended Complaint’s definition of
gender dysphoria only references physical features when it
mentions genitalia not corresponding to a person’s perception of
her own gender. The Amended Complaint does not assert that
Plaintiff's genitalia is an impairment.

Plaintiff cites the congressional record and committee
hearing transcripts in an unsuccessful attempt to bring her
disorder within the scope of the ADAA. The Court is unwilling to
delve into legislative history when the text of the statute is
unambiguous, as it is here. Plaintiff must allege some physical
impairment that resulted in her gender dysphoria. She has not.
Thus, her ADAA and RA claims must be dismissed pursuant to Federal
Rule of Civil Procedure 12(b) (6).

Next, Plaintiff’s allegations of gross negligence against
Defendant Kincaid fail to state a claim upon which relief may be
had. Plaintiff's first theory, that Defendant Kincaid committed
gross negligence when she failed to enact appropriate standards
and procedures to prevent Plaintiff's harm, fails because the
allegations in Plaintiff's Amended Complaint preclude recovery

under Virginia law.
Case 1:20-cv-01397-CMH-TCB Document 51 Filed 06/07/21 Page 6 of 7 PagelD# 293

Gross negligence is “a degree of negligence showing
indifference to another and an utter disregard of prudence that
amounts to a complete neglect of the safety of such other person.”

Elliott v. Carter, 292 Va. 618, 622 (2016) (internal citations

 

omitted). Generally, the existence of gross negligence is a
question of fact for the jury. But “the standard for gross
negligence [in Virginia] is one of indifference, not inadequacy”
and thus, “a claim for gross negligence must fail as a matter of
law when the evidence shows that the defendants exercised some
degree of care.” Id. (internal citations omitted).

The Amended Complaint shows Defendant Kincaid exercised some
degree of care. Defendant Kincaid enacted standards relating to
gender classification directed at promoting safety of inmates and
prison staff. This shows the existence of some degree of care
toward inmates, including Plaintiff. The Amended Complaint states
that Defendant Kincaid committed gross negligence when she “failed
to enact appropriate standards” to prevent Plaintiff’s harm.
(Emphasis added). Though Plaintiff describes the policy as
inappropriate and inadequate, the allegations in the Amended
Complaint show Defendant Kincaid exercised more than indifference.
Under Virginia law, this degree of care is all that is necessary
to preclude Plaintiff’s gross negligence cause of action.

Plaintiff's theory of gross negligence based on the doctrine

of respondeat superior fails for the same reasons. Though Defendant
Case 1:20-cv-01397-CMH-TCB Document 51 Filed 06/07/21 Page 7 of 7 PagelD# 294

Kincaid is responsible for the acts of her officers authorized by
her implemented policies, the challenged policies inherently show
some degree of care for inmates such as Plaintiff. Plaintiff's
claim against Defendant Kincaid for gross negligence must be

dismissed pursuant to Federal Rule of Civil Procedure 12(b) (6).

For the foregoing reasons, Plaintiff has failed to state a
claim against Defendant Kincaid, and the Complaint should be

dismissed. An accompanying order shall issue.

Clack “In Hh bt

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia

June 7 , 2021
